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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


WSOU INVESTMENTS, LLC D/B/A                          No. 6:20-cv-00812-ADA
BRAZOS LICENSING AND DEVELOPMENT,                        6:20-cv-00813-ADA
                                                         6:20-cv-00814-ADA
                Plaintiff,                               6:20-cv-00815-ADA
                                                         6:20-cv-00816-ADA
       v.
                                                     JURY TRIAL DEMANDED
JUNIPER NETWORKS, INC.,

                Defendant.


               BRAZOS’S OPPOSED CASE READINESS STATUS REPORT

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”)

hereby provides the following case readiness status report in advance of the initial Case

Management Conference(s) (“CMC”).1

                                  FILING AND EXTENSIONS

       Brazos’s Complaint in each of the above-captioned cases was filed on September 4,

2020. There has been one extension for a total of 45 days.

                              RESPONSE TO THE COMPLAINT

       On November 16, 2020, Juniper responded to each of Brazos’s Complaints by filing an

Answer and Counterclaims. See Case No. 6:20-cv-00812, Dkt. 17; Case No. 6:20-cv-00813,




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 Brazos attempted to obtain Juniper’s consent to file this report jointly. Juniper has taken the
position that pursuant to the Court’s November 19, 2020 Standing Order Regarding Notice of
Readiness for Scheduling Conference in Patent Cases, this report should not be filed until after
Juniper responds to Brazos’s complaints in Case Nos. 6:20-cv-00902 and 6:20-cv-00903.
Because those cases do not involve the same patents (or patents that are related to the same
patents) as the above-captioned cases, Brazos disagrees and therefore files this report
unilaterally.


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Dkt. 16; Case No. 6:20-cv-00814, Dkt. 16; Case No. 6:20-cv-00815, Dkt. 16; Case No. 6:20-cv-

00816, Dkt. 16.

                                      PENDING MOTIONS

       Juniper filed an opposed motion to transfer each of the above-captioned cases to the

Northern District of California on November 27, 2020. See Case No. 6:20-cv-00812, Dkt. 019;

Case No. 6:20-cv-00813, Dkt. 18; Case No. 6:20-cv-00814, Dkt. 18; Case No. 6:20-cv-00815,

Dkt. 18; Case No. 6:20-cv-00816, Dkt. 18.

                      RELATED CASES IN THIS JUDICIAL DISTRICT

       There are no related cases in this judicial district involving the same patents. Including

the above-captioned cases, there are seven cases pending in this Judicial District involving the

same parties but different patents. Specifically, Brazos filed five complaints in the above-

captioned cases against Juniper on September 4, 2020, and two additional complaints against

Juniper on September 30, 2020. The seven pending cases are listed below:

   •   Case No. 6:60-cv-00812 (U.S. Patent No. 7,382,781)
       (answer to complaint filed Nov. 16, 2020);

   •   Case No. 6:20-cv-00813 (U.S. Patent No. 7,483,998)
       (answer to complaint filed Nov. 16, 2020);

   •   Case No. 6:20-cv-00814 (U.S. Patent No. 7,518,990)
       (answer to complaint filed Nov. 16, 2020);

   •   Case No. 6:20-cv-00815 (U.S. Patent No. 7,596,140)
       (answer to complaint filed Nov. 16, 2020);

   •   Case No. 6:20-cv-00816 (U.S. Patent No. 8,953,499)
       (answer to complaint filed Nov. 16, 2020);

   •   Case No. 6:20-cv-00902 (U.S. Patent No. 7,620,273)
       (response to complaint due Dec. 11, 2020); and

   •   Case No. 6:20-cv-00903 (U.S. Patent No. 8,284,656)
       (response to complaint due Dec. 11, 2020).



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                             IPR, CBM, AND OTHER PGR FILINGS

       There are no known IPR, CBM, or other PGR filings.

                      NUMBER OF ASSERTED PATENTS AND CLAIMS

       Brazos has asserted 1 patent in each of the above-captioned cases. Brazos has not yet

served its preliminary infringement contentions, but currently anticipates asserting the number of

claims identified in the table below for each patent:

                          Patents               # of Anticipated Asserted Claims

                 U.S. Patent No. 7,382,781                        5

                 U.S. Patent No. 7,483,998                        5

                 U.S. Patent No. 7,518,990                       10

                 U.S. Patent No. 7,596,140                       23

                 U.S. Patent No. 8,953,499                        9

                          APPOINTMENT OF TECHNICAL ADVISER

       Brazos does not oppose the appointment of a technical adviser to the above-captioned

cases; at the time of the filing of this report, Juniper has not taken a position regarding the

appointment of a technical adviser.

                                 MEET AND CONFER STATUS

       Brazos and Juniper conducted a meet & confer conference for the above-captioned cases

(“Brazos I–V,” respectively) on November 23, 2020. The parties anticipate conducting a meet &

confer conference for Case Nos. 6:20-cv-00902 and 6:20-cv-00903 (“Brazos VI” and “Brazos

VII,” respectively) promptly after December 11, 2020, the date upon which Juniper’s responses

to the complaints in those cases are due. The parties further anticipate filing a Notice of Case

Readiness for Brazos VI and VII promptly after conducting their meet & confer for these cases

during the week of December 18, 2020.


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       The parties currently have no other pre-Markman issues for discussion at the CMC.

                                              Respectfully submitted,

Dated: December 3, 2020                       /s/ Raymond W. Mort, III
                                              Raymond W. Mort, III
Edward J. Naughton                            Texas State Bar No. 00791308
(pro hac vice)                                raymort@austinlaw.com
enaughton@brownrudnick.com                    THE MORT LAW FIRM, PLLC
Rebecca MacDowell Lecaroz                     100 Congress Avenue, Suite 2000
(pro hac vice)                                Austin, Texas 78701
rlecaroz@brownrudnick.com                     tel/fax: (512) 677-6825
BROWN RUDNICK LLP
One Financial Center
Boston, Massachusetts 02111
telephone: (617) 856-8200
facsimile: (617) 856-8201

Alessandra C. Messing
(pro hac vice)
amessing@brownrudnick.com
Timothy J. Rousseau
(pro hac vice)
trousseau@brownrudnick.com
Yarelyn Mena
(pro hac vice)
ymena@brownrudnick.com
BROWN RUDNICK LLP
7 Times Square
New York, New York 10036
telephone: (212) 209-4800
facsimile: (212) 209-4801

David M. Stein
Texas State Bar No. 797494
dstein@brownrudnick.com
Sarah G. Hartman
California State Bar No. 281751
shartman@brownrudnick.com
BROWN RUDNICK LLP
2211 Michelson Drive, 7th Floor
Irvine, California 92612
telephone: (949) 752-7100
facsimile:      (949) 252-1514
                                              Counsel for Plaintiff
                                              WSOU Investments, LLC d/b/a
                                              Brazos Licensing and Development


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